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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 WILLIAM DECKARD, SR.,                                     CIVIL ACTION
               Plaintiff,

               v.

 STEVEN EMORY, EXECUTOR OF                                 NO. 17-5182
 ESTATE OF KATHLEEN EMORY
 (Deceased),
 STEVEN EMORY,
 JANE’S AND JOHN’S DOE 1 THROUGH
 24, and
 SOLE PROPRIETORSHIP(‘S),
 PARTNERSHIP(‘S), CORPORATION(‘S),
 LLC(‘S), LLP(‘S) 1 THROUGH 18,
                     Defendants.

                                          ORDER

       AND NOW, this 28th day of January, 2019, upon consideration of plaintiff’s Petition for

Leave to File 2nd Amended Complaint (Document No. 6, filed December 31, 2018), and

Plaintiff’s Praecipe to Remove as Named Defendants from Plaintiff’s Pending Petition for Leave

to File 2nd Amended Complaint, and from Plaintiff’s Proposed 2nd Amended Complaint, both

Filed December 31, 2018, Individuals Named by Clerical Mistake: David Grunfeld, Esq.; Adam

Flager, Esq.; Linda Hee, Esq., and Astor, Weiss, Kaplan, & Mandel, LLP (Document No. 7, filed

December 31, 2018), IT IS ORDERED as follows:

       1.     Plaintiff’s Petition for Leave to File 2nd Amended Complaint is GRANTED. The

Second Amended Complaint attached as an exhibit to the Petition shall be deemed filed as of

January 28, 2019;

       2.     Plaintiff’s Praecipe to Remove as Named Defendants from Plaintiff’s Pending

Petition for Leave to File 2nd Amended Complaint, and from Plaintiff’s Proposed 2nd Amended

Complaint, both Filed December 31, 2018, Individuals Named by Clerical Mistake: David
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Grunfeld, Esq.; Adam Flager, Esq.; Linda Hee, Esq., and Astor, Weiss, Kaplan, & Mandel, LLP,

is GRANTED;

       3.     Plaintiff shall promptly arrange for service of the Second Amended Complaint on

all of the remaining defendants. Such service shall be made as provided in the application Rules

of Civil Procedure covering service of process.

       Upon consideration of Plaintiff’s Response to this Court’s November 19, 2018 Order to

Show Cause why plaintiff has failed to make service of plaintiff’s First Amended Summons and

Complaint as required by the Federal Rules of Civil Procedure (Document No. 8, filed January 2,

2019), IT IS FURTHER ORDERED that, by reason of the filing of plaintiff’s Petition for

Leave to File 2nd Amended Complaint, and the Second Amended Complaint, and this Order,

granting the Petition for Leave to File 2nd Amended Complaint, plaintiff has shown cause for

failure to make service of the First Amended Summons and First Amended Complaint, and the

Order to Show Cause is DISCHARGED.

                                                      BY THE COURT:

                                                      /s/ Hon. Jan E. DuBois

                                                        DuBOIS, JAN E., J.




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